          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 1 of 8




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-175
                                                   )
 ETHAN NORDEAN, et al.,                            ) Judge Timothy J. Kelly
                                                   )
        Defendants.                                )
                                                   )

  DEFENDANT NORDEAN’S NOTICE OF GOVERNMENT’S VIOLATION OF THE
     DUE PROCESS PROTECTIONS ACT AND LOCAL CRIMINAL RULE 5.1

       The Due Process Protections Act (DPPA), P.L. No. 116-182, signed on October 21, 2020,

amended Federal Rule of Criminal Procedure 5 to require district courts to issue, at the first court

appearance in every criminal case, an order confirming the prosecutor’s disclosure obligations

under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Fed. R. Crim. P. 5(f)(1). That

order was entered in this case on March 4, requiring the government to comply with the

provisions in Local Criminal Rule 5.1. The order states that “the failure to comply could result

in dismissal of the indictment or information, dismissal of individual charges, exclusion of

government witnesses, continuances, bar discipline, or any other remedy that is just under the

circumstances.” Minute Order, Mar. 4, 2021.

       Local Criminal Rule 5.1 provides that “the government shall disclose to the defense all

information ‘favorable to the accused’ that is ‘material either to guilt or to punishment’” under

Brady and that “is known to the government.” LCrR 5.1(a). It also provides that “Beginning at

the defendant’s arraignment and continuing throughout the criminal proceeding, the government

shall make good-faith efforts to disclose such information to the defense as soon as reasonably




                                                                                                    1
          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 2 of 8




possible after its existence is known, so as to enable the defense to make effective use of the

disclosed information in the preparation of its case.” Id. (emphasis added).

       The material covered by Rule 5.1 includes any “Information that is inconsistent with or

tends to negate the defendant’s guilt as to any element . . .of the offense(s) with which the

defendant is charged.” LCrR 5.1(b)(1). Accordingly, whereas before DPPA’s enactment in

October 2020 and the addition of Local Rule 5.1 there may have been some argument that the

government did not have an obligation to produce Brady material following arraignment and in

time for a bail hearing, see, e.g., United States v. Gonzalez, 2020 U.S. Dist. LEXIS 38236, at *10

(D.D.C. Mar. 5, 2020), that argument is now explicitly foreclosed by Rule 5.1 (“Beginning at the

defendant’s arraignment. . .”). LCrR 5.1(a) (emphasis added).

        Here, the Court revoked Nordean’s release order on the basis of a finding that the

conspiracy charge filed against him was “strong” and that clear and convincing evidence showed

that Nordean posed an unmitigable threat to public safety because he “can produce events that

draw large numbers of people, including Proud Boys . . . Even if the election has passed, politics

has not.” Hr’g Trans., 4/19/21, p. 55:6-18.

       Today, the government produced for the first time additional Telegram messages

extracted from Nordean’s phone. The government provided no explanation as to why they were

produced after the hearing on its third detention motion and not beforehand. 1 Like the Telegram

chats it used to support detention, today’s production was drawn from the same device




1
  On March 25, Nordean requested that the government produce, at least by March 30, Telegram
chats on Nordean’s phone sent and received between 1/4/21 and 1/8/21. Nordean did not say
that no other chats should be produced, nor did he waive any right to Brady material of which the
government was aware. On March 9, Nordean served a discovery letter on the government
seeking all of the defendant’s statements and requesting that Brady material be produced
according to the schedule in Rule 5.1.
                                                                                                  2
          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 3 of 8




(Nordean’s phone), the same app (Telegram), and only postdate by some days the chats the

government used to detain Nordean. In reviewing the following chats, the Court may recall that

because the Telegram messages are encrypted and, according to the government, “designed to

evade law enforcement,” the government would have the Court believe the app users are

speaking candidly in Telegram.

       One chat the government produced, following the detention hearings, contains Nordean

commenting, in encrypted communications with a fellow Proud Boy member, on the FBI

affidavit upon which Defendant Biggs was arrested. On January 20, Nordean writes, “This FBI

affidavit for Biggs, its of course a steaming pile of dog shit that tries to make it seem like the

capital shit was planned”:




       In another chat produced today for the first time, another Proud Boys member, reviewing

the events of January 6, makes two relevant comments to Nordean and others. First, he suggests

that the members in the chat—including Nordean and Biggs—had no coordination with the

actions of Dominic Pezzola, who the government falsely alleges is a co-conspirator of the

defendants here. “Looks like only 2 guys did anything legally bad, that spazzo and guiswien

guy.” The government contends a person referred to in the Telegram Proud Boys chats as “that

guy,” whose actions the members learn about through reading press reports, is a co-conspirator

of the chatters. This commenter then paints a picture of no coordination between the Proud Boys

on January 6:

                                                                                                     3
          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 4 of 8




       Similarly, another chat produced today for the first time shows a participant in the

January 6 events reflecting afterward on the day: “Just a bunch of guys getting excited and

obviously not planning shit. Said anyone who yelled provocative shit will probably get charged

but good luck making it into conspire whatever.” Nordean then appears to repost the report

inspiring the remark:




       Another commenter in chats produced today for the first time wrote, on January 15,

“The[] [press] were trying to make it out like we led the Trump rally to the capital, which

obviously couldn’t be further from the truth”:




                                                                                                 4
          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 5 of 8




       Reflecting on another press report, the same commenter said, on January 17, that some

public figure “spoke of invading the GOP [and] the media took that and twisted it into saying we

were planning on invading the capital”:




       Another member who was at the Capitol on January 6 remarks to Nordean, “I think you’d

be in less trouble than me . . . They could take the time to make us ‘domestic terrorists’ but we

are so not [that] I think it’s actually not worth the legal gymnastics,” to which Nordean concurs:




       The chats produced today also show repeated comments from Nordean and others

forswearing (1) politics generally, (2) rallying, and (3) “marching on capital buildings”:



                                                                                                     5
Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 6 of 8




                                                                6
          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 7 of 8




       Given the bases on which the Court revoked Nordean’s release order and the ease with

which these messages could have been produced before the multiple detention hearings, it is

grossly inappropriate, and a violation of the Rule 5.1 order, that the government produced these

chats following the proceedings in which defendants could have made “effective use of the

disclosed information.” LCrR 5.1(a).

Dated: April 29, 2021                        Respectfully submitted.
                                             DAVID B. SMITH, PLLC

                                             /s/ David B. Smith
                                             David B. Smith (D.C. Bar No. 403068)
                                             108 N. Alfred St.
                                             Alexandria, VA 22314
                                             Phone:(703)548-8911
                                             Fax:(703)548-8935
                                             dbs@davidbsmithpllc.com

                                             Nicholas D. Smith (D.C. Bar No. 1029802)
                                             7 East 20th Street
                                             New York, NY 10003
                                             Phone: (917) 902-3869
                                             nds@davidbsmithpllc.com




                                                                                                   7
          Case 1:21-cr-00175-TJK Document 79 Filed 04/29/21 Page 8 of 8




                                     Certificate of Service

       I hereby certify that on the 29th day of April, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
                                                    David B. Smith, D.C. Bar No. 403068
                                                    David B. Smith, PLLC
                                                    108 North Alfred Street, 1st FL
                                                    Alexandria, Virginia 22314
                                                    (703) 548-8911 / Fax (703) 548-8935
                                                    dbs@davidbsmithpllc.com
                                                    Counsel to Ethan Nordean




                                                                                                8
